                                                                                               DISTRICT OF OREGON
                                                                                                    FILED
                                                                                                 November 14, 2016
                                                                                            Clerk, U.S. Bankruptcy Court



            Below is an Order of the Court.




                                                                           _______________________________________
                                                                                       RANDALL L. DUNN
                                                                                     U.S. Bankruptcy Judge




                                        UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF OREGON

In re                                                  )
                                                       )     Case No. 15-35133-rld7
        Garboden, Elbert G                             )
        Garboden, Sherry L                             )     ORDER ALLOWING PROFESSIONAL
                                                       )     COMPENSATION & EXPENSES; AND
                                                       )     DIRECTING DISTRIBUTION OF ASSETS
Debtor(s)                                              )

        The trustee's final report having either come on for hearing, or the creditors having waived their opportunity for a
hearing after due notice, or the NET proceeds realized were insufficient to require a final notice; now therefore,

        IT IS ORDERED that the following court costs, and professional compensation and expenses, are specifically
allowed by the court:

COURT COSTS                                                                                                            0.00

AMY MITCHELL, Trustee Compensation                                                                                1,250.00

AMY MITCHELL, Trustee Expenses                                                                                        27.73




        IT IS FURTHER ORDERED that the trustee pay the claims allowed against the estate, pursuant to 11 U.S.C.
§726, from the balance of estate assets.

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740.3 (3/1/16)

                                 Case 15-35133-rld7          Doc 44     Filed 11/14/16
